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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                            Civil Action No. 2: 13-CV-05195-JD
KILBRIDE INVESTMENTS LIMITED,
BUSYSTORE LIMITED IN LIQUIDATION and
BERGFELD CO. LIMITED,

                             Plaintiffs,
       V.

CUSHMAN & WAKEFIELD OF
PENNSYLVANIA, INC., BLANK ROME LLP
and COZEN O'CONNOR, P.C.,

                             Defendants,


CUSHMAN & WAKEFIELD OF
PENNSYLVANIA, INC.,

                              Third-Party Plaintiff,

      v.

CHAIM ZEV LEIFER, HESKEL KISH and
JFK BLVD ACQUISITION GP, LLC,

                            Third-Party Defendants.

                                              ORDER

       AND NOW, this 15i°h.day of ~                    , 2018, upon consideration of the Motion of

plaintiffs Kilbride Investments Limited, Busystore Limited in Liquidation and Bergfeld Co.

Limited (collectively referred to herein as "Plaintiffs") to Voluntarily Dismiss defendant Blank

Rome LLP with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2), and for Entry of

Final Judgment pursuant to Federal Rule of Civil Procedure 54(b) (ECF No. 187), the Response

in Partial Opposition of defendant Cozen O'Connor, P.C. (ECF No. 189), the Statement of

Position of defendant/third-party plaintiff Cushman & Wakefield of Pennsylvania, Inc. (ECF No.

190), the Reply of Plaintiffs in Further Support of Their Motion (ECF No. 195), the Reply of
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Blank Rome LLP in support of Plaintiffs' Motion (ECF No. 196), the Surreply of Cozen

O'Connor, P.C. in Further Opposition to Plaintiffs' Motion (ECF. No. 200), the letter briefs

submitted at the direction of the Court by Plaintiffs, Blank Rome LLP, Cozen O'Connor, P.C.

and Cushman & Wakefield of Pennsylvania, Inc. and the representations made by counsel during

the Court's conference call with counsel on May 9, 2018, by agreement of the parties it is hereby

ORDERED that:

        1. Plaintiffs' Motion to Voluntarily Dismiss Blank Rome LLP is GRANTED, and

Plaintiffs' claims against Defendant Blank Rome LLP are dismissed in their entirety with

prejudice, and with each side to bear its own attorneys' fees and costs.

       2. The Court expressly determines that the judgment is final and, under the factors set

forth in Allis-Chalmers Corp. v. Philadelphia Elec. Co., 521 F .2d 360, 364-65 (3d Cir. 1975),

that there is no just reason to delay the appeal of this Order. The sole issue adjudicated is

whether the dismissal of Blank Rome LLP with prejudice from this action is warranted under the

facts and law. Blank Rome LLP's dismissal with prejudice will not affect the remaining claims

in any way. There is no possibility of mootness of the review based on future developments

because Blank Rome LLP will no longer be a party to the action. There is no possibility of the

appellate court having to consider the same issue a second time because the judgment is specific

to the dismissal of Blank Rome LLP. There are no set-off implications because there are no

cross-claims by or against Blank Rome LLP. Finally, the miscellaneous factors weigh in favor

of certification under Rule 54(b) given that with one less party actively participating at trial,

future litigation will be simplified and the trial time will be shortened, conserving the Court's

resources and reducing the expenses for that party.




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       Finding that the judgment is final and there is no just reason for delay, it is ORDERED

that Plaintiffs' request that the Order dismissing Blank Rome LLP be entered by the Court as a

final judgment pursuant to Federal Rule of Civil Procedure 54(b) is GRANTED.

       3. Under the authority of Kokkonen v. Guardian Life Ins. Co. ofAm., 511 U.S. 375, 381-

82 (1994), it is ORDERED that this Court shall retain exclusive jurisdiction over Plaintiffs and

Blank Rome LLP and the settlement agreement between them, including for the purpose of

enforcing the terms of the settlement.

       IT IS FURTHER ORDERED that upon consideration of Blank Rome LLP's Motion for

Summary Judgment (ECF No. 113), Plaintiffs' Response in Opposition thereto (ECF No. 150)

and Blank Rome LLP's Reply in Support thereof (ECF No. 168), Blank Rome LLP's Motion for

Summary Judgment is DENIED as moot.

                                                     IT IS SO ORDERED:



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                                                    nJBors/JJ




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